Case 2:24-cv-00572-JRG         Document 41-34        Filed 10/28/24     Page 1 of 1 PageID #:
                                          730



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

ADVANCED CODING TECHNOLOGIES                       Civil Action No. 2:24-cv-00572 -JRG
LLC,                                               (Lead Case)

              Plaintiff,
                                                   JURY TRIAL DEMANDED
       v.

APPLE INC.,

              Defendant.


    [PROPOSED] ORDER GRANTING DEFENDANT APPLE INC.’S MOTION TO
 DISMISS FOR IMPROPER VENUE OR ALTERNATIVELY TO TRANSFER TO THE
                 NORTHERN DISTRICT OF CALIFORNIA

       Before the Court is Defendant Apple Inc.’s Motion to Dismiss for Improper Venue or

Alternatively to Transfer to the Northern District of California. Having considered all materials

and arguments submitted in connection therewith, the Court finds that the Motion should be and

hereby is GRANTED in all respects.

       IT IS SO ORDERED.
